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     MARSHACK HAYS LLP
 5   870 Roosevelt
     Irvine, CA 92620
 6   Telephone: (949) 333-7777
 7   Facsimile: (949) 333-7778

 8   Attorneys for Movant and Creditor,
     HOUSER BROS. CO. dba RANCHO DEL
 9   REY MOBILE HOME ESTATES
10                                     UNITED STATES BANKRUPTCY COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
12
     In re                                                       Case No. 8:21-bk-11710-ES
13
     JAMIE LYNN GALLIAN,                                         Chapter 7
14
                           Debtor.                               DECLARATION OF GREG BUYSMAN RE:
15                                                               MOTION OBJECTING TO DEBTOR’S
                                                                 CLAIMED HOMESTEAD EXEMPTION
16
                                                                 Date: July 21, 2022
17                                                               Time: 10:30 a.m.
                                                                 Ctrm: 5A1
18                                                               Location: 411 W. Fourth Street, Santa Ana, CA
                                                                 92701
19

20

21

22            I, Greg Buysman, say and declare as follows:

23            1.          I am an individual over 18 years of age and competent to make this Declaration.

24            2.          If called upon to do so, I could and would competently testify as to the facts set forth

25   in this Declaration.

26
     1
      To continue to aid in the mitigation of the spread of the COVID-19 virus and in light of the response of the Bar to
27   continue virtual appearances, Judge Smith will continue to hold the majority of her hearings remotely using ZoomGov
     audio and video. However, beginning September 1, 2021, Judge Smith will allow the option for in-person hearings
28   and/or hybrid proceedings for trial and evidentiary hearings only.
                                                               1
                                            DECLARATION OF GREG BUYSMAN
     4880-1284-8131,v.1
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           Recording at the request of:

           JAMIE LYNN GALLIAN
           t6222 MONTEREY LANE #376
           HUNTINGTON BEACH, CA 92649
           7t4-32t-3449
                                                                       This spae for recorde/s use onlY



                                                 AFFADAVIT OF DEATH

                             CHARLES JAMES BRADLEY, JR. Date of Death 06/18/2000

           Affiant's Name: JAMIE LYNN GALLIAII

           The affiant, JAMIE LYNN GALLIAN, first being swom, deposes and says: I am firlly
           capacitated at this present time to give sworn written testimony, and hereby aoknowledge the
           foilowing to be true. I am ovcr the age of 18 years and I am currently a resident within the State
           of California, County of Orange. I say, I am the only daughter of the decedent Charles James
           Bradley, Jr. and named executor in that certain Will of the Decedent of Charles J. Bradley, Jr.

                                    stated within this wrifien instrument to be fue. The following
           I standby all facts herein
           testimony is an accurate acoount, both true and corect, of my personal knowledge.

           I, JAMIE LYNN GALLIAN, the affiant, testify under oath to the following written statement:
           That the decedent CHARLES JAMES BRADLEY, JR. born September 13,'1,935, died on June
           18, 2000, State of Montana A true and correct copy of Decedent Charles J. Bradley, Jr.
           Certificate of Death Montana State File No. 8446 is attached, herein'

           That Sandra L. Bradley transferred community properly conveyed to said GRAI'{TEE by the
           Decedent, GRANTOR, Charles J. Bradley, Jr. and knowingly and willfully filed a fraudulent
           Quitclaim Deed on October 24,2}Al,DocumentNo. 200107536A6, at the Clerk Recorders
           Office, County of Orange California, without authority ofthe Grantee.

           Notice is hereby given said Document No. 20010753606, attached herein, is           VOID. 3    rc   A*trmh*'t   '*+t
           Dated   tluslSday ot
            Sworn (ot affirned) before lrre at


            Signature   of
            Signature ofNotary
                                                                    >€{          Wr}^/L"/ tVt^*$a**/




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                                       ACKNOWLEDGMENT

     A notary public or other雨 cer completing this
     certittcate veri石 es onty the identity of the individual
     who signed the dOcumentto which this cettilcate is
     attached,and notthe truthfuinessi accuracy,or
     validity of that docttment.

   State of California
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   i cetti,under PENALTY OF PERJURY underthe taws ofthe State of California thatthe foregoing
   pa「agraph is true and cor「 ect.



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   Signatu                                                      (SeaI)




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          RECORDING REQUESTED BY
          Mrs. sandra L. Brad■ ey
          9 Rae's Creek Lane                                               Recorded in Omcial Records,Cownty Of Orange
          Coto de Caza, cA 92679                                           Sary Ottn頓 lle,cierk‐ Recorder

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         The undersigned quitc■ aimer declarest                   Bocumentary transfer tax is NONE.                                とF
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         No consと deration given  ― Change i4 fOrmaユ tit■ e only.
         FOR VALUABLE CONSIDERAT工 ONP receipt of tthich is hereby acknowiedged′
         Sandra L. Brad■ erf AS HER SOLE AND SEPARATE PROPERTY does hereby REMISE′   RELEASE AND
         FOREVER QUITCLA101 to Sandra L. Bradley trustee of the SANDRA L. BRADLEY TRUST dated
         October 17f 2001 the real property in the City of てUNINCORPORATED AREA,ど County of
         ORANGE common■ y にnown as 9 Rae's Creek Laner Coto de Caza, CA 92679. Lega■    DeSCription
         is attached hereto and made a part hereof as Exhibit t・ A'.



         This conveyance is pursuant to ReV. & Tax code sectior1 62(d,(2,′   doeS not conatitute a
         change in ownership and does not subject the property to reassessHモ eれ t.

         DatedB              /′/ノ     ア
                                      /Dr

                                                                    SANDRA L

         STATE OF CALlFORNEA
                                                                    )SS.
         COUNTY OF ORANGE
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                                              SANDRA L. BRADLEY
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       EXCEPT工 NO rH」 RE置 OM ONEぃ 道ALF (■ /2)OF ALtt R工 GHFS T0 01L, CAS, PETROLEUM, mROCARBON
       S口 BSTANCES AND Or湧 、R MIttRALS AND GASES BELOW A DEPTH OF SOO FEET MEASURED V口 RTICALX̀Y
       FROM Hヨ PRESENT SuRFACE OF sAID LAWt WI軍 OẀェ 簿 RIG〓 T OF SURFACE BttY AND WITHO口 T
            RIGHT OF ― Y WITHIN SAID 500 FEET▼ AS RESERttD BY ttMSt A. BRVAM, OR,P Am
       ̀聰
       OUDITH T工 LTさRYAW, HUSBAm ttH'wIFE′ IN Ttt DEED RECORpED SEPttMBBR 24,  ■
       こ72', PAGE 443 0F OFFICIAL RBCORDS,                                      '6B IN BOOK
       ALSO EXCEPTINe― WれTER ttICrs oR I― ESTS IN WA窮 ■ RIGHTS THAr 4Y BE WttTHINf ― ER
       OR ON Iェ B pROPER営 , ― 襲趣 R SgcH wATBR RIGHTS ARE RIPARIA17. o聰 遵 Y工 NG, AppRO,RIATIttr
       pERCO工 雪工NG, PRESCRIPT工 碗 OWOttACTUAL, PROVIDED, HO‑1         聰 T̀Hお RESERVAT=ON MADE
       窟ヨREIN SttLれ TOT RESttRtt TO OR FOR― BttNEF工 T OF mWOR AM HIGHT TO―          BR uPON THE
       SURFAC遭 OF 朗 ヨ pROpBRTV 藻 距      EXERCISE OF SuCH RIω TS′ TOGE― R WItt THtt RIGHT AND
       POWER TO uSE OR UTIIB工 ZE ON AttY tt PROPER町 OWttD ORみ EASED BY螂 亜 R ANY AttD ALh
       智ATER RIGHTS OR INば ERESTS IN WATER RICttTS NO MATTER HO      AC鰤 烹ED BY GRAMOR, AS
       RESERVED IN ― DEED FROH COTO DE CAZA LTD,, RECORDED NO― BER'ど と
       NO. ■9950500■ 38 0F OFFICIAL RECORDS.                                 '9S AS INSTRUMENT
       ALSO EXCEPTING TttRE凛 OM AIIL■ ATER AND聡 霊 R RIし、IS, IF ANY, INCLVDED WITHIN SAID TRACT
       ASつ EDICATED To Fコ E SANTA MARGARITA FATER DISTRICT ON ttE mP OF SAID TRACT.
       RESERVINO■ ェLI(EFROM, FOR ttE BENEF工 T OF GRA配oR AND OTHttRS,NON― EXCLuSI崎 酪 SEMENTS FOR
       ACCESS, INORESSr EGRESS, ENCROA∞ 置 , MAINTttHCÈ REPAIR′ DRAINACE AHD Skテ ppORT, AS
       DESCRIBED IN霞壼 題 CORDED ttBDIVIS10N MAP FO良 取 ACr iS■ s■ 畑 ぃ ェN瞬 霊 MASTコ R DBCぬ RAFIOW
       AND THE SUppLE卜 色 NPAL DECLARAT=ON DEFINED BELOW.
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       NON― EXCLUSIVE nASEMttS FOR ACCESS, INCRESS, ECRESSt ttIFTEHANCE, REPAIR, DRAImG口                       ,
       ENcROA∝ 岨 暉 AND SUPPORT, ALL AS DESCRIBED IN ttE MASTER DECLARAT10N OF COttAWS,
       CONDITIONSt RESTRICTIONS AND RESER4T工 ON OF ttSEMENTS FOR COTO DE CAZA             〔'MASTER
       DECLARATICNW), RECORDED MARCH 5, ■984 AS =NS駅 い個 NT NO, 84‑092424, ハND ― NOTICE OF
       ADDIT工 ON OF TEttRITCRY AND SUコ PLEMENTAL DECLARAT工 ON OF COWEttNTS, CONDIT10耳 Sr
       RESTRICT工 ONS AND RESERVATION OF ttSEⅢ lEttS FOR COTO DE CAZA (・ SUPPLEMENTAL DECぬRAT工 ONⅢ 〉
       RECORDED MAY 7, ■996 AS INS雲 い lENT NO^ ■9960229■ 47 AND RE‐ RECODED mY ■4, ■996 AS
       INS廠 枷 ENT NO. ■9960242■ 0■ AND RE― 閣 CORDED NO― BER ■3, ■9% AS IttTRUMENT NO̲
       ■996057400,P ALL IN OFFICttAL REC9RDS OF ORANGE CO口 NTY, CALIFORNIA.




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                                                                                                                                        If.




          RECORDING REQUESTED BY
          Mrs. Sandra L. Bradley
          9 Rae's creek Lane                             Recorded in Official Records, Couhty of Orange
          Coto de Caza:, CA 92679                        Gary GranviUe, Clerk-Recorder

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          WHEN RECORDED MAIL TO                                             20010753552 03:25pm 1-0/24/01
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          Mail Tax Statements to
          same as above


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                                       AFFIDAVIT - DEATH OF JOINT TENANT                                                             i1f
          STATE OF CALIFOIUiTIA,
          County of ORANGE
                                                                                                                                     'J-11
                                                                                                                                     I l- f
          Sandra L. Bradley, of legal age, be.i,ng first duly sworn, deposes and says:
          .That CHARLES JAMES BRAPLE:Y{�the deceoent meiiti..oi;le¢!. in the attached certified
           copy of Certifica:te of Death, is the same person as Charles J. B$adley in that
          certain Grant Deed dated 11-21-96                , and executed by R. Lawrence                                      Olin
       & Greg R. Petersen , r�oorded as Instrnment No. f9970061523 on 02/07-97 of
          Official Records of ORANGE Co.wity, CA, covering fSee Exhibit nA• attac�ed
          hereto and by this reference made a part hereof) •




          Dated    $// 7
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                                                               L. BRADLEY
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          SUBSCRIBED AND :SWORN TO before me

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          Signature�                                               -i tL:_--r-�t1?:.
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      ξ729, PAGE 443 0F O雲 霊 CIAL ttCORDS.                                        '63 1N B00К

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      DECLARAr工 ONげ ), RttCORDED MARCH S, ■984 AS INSTRUMEM NO. 34‐ 092424= AND■ HL NOT工 CE OF
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      電 SttICT10NS AND RESERVAT工 ONゅ F EAS副 剛 TS FOH COTO DE CAtt tnsU'コ L麗 Ⅲ
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     Sandra L, Bradley                                                             II ,1。 0 9.ee
     9 Rae's Creek Lane                                           i::。 ￨:￨:igg]・
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     Coto de Caza ca 92679



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  1.TAXES′ ASSESSMENTS.NONDEuNQUENTRttLPROPERTYTAXESANDALLNONDELINQUENTUNPAD
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  2.RECORDデ SURVEYMAttRSi COVENANTS,CONDコ『【  ONS,RESTRI(yrloNS,EASEMENTSBRESERVAT10NS子
  DEDICATIONS,RIGHTS AND RIGXTS,OF‐ VAV OF RECORD,INCLUDINC WITHOUT LIM】 TATION.THE
  MASTER DECLARAT10N,AND THE SUPPLEMENTAL DECLARATION.
  3̀ GRANTM ACKNOれ 叱EDGMENTl GRANTEE,BY ACCEPTANCE AND RECORDAT10N OF THIS DEED・
  EXPRESSLY ACCEPTS,COVBNANTS,ANDAGttESTO BEBOUND BYANう ASStJME PERFORMANCEOF ALL
trAPPLECABtt PROVISIONS SET FORTH HEREIN AND IN THE MASTBR DECLARA■ ON AND THE
′
  SV,PLEMENTAL DECLARAT10N,WHICH PROVIS10NS ARE ACKNOWLEDOED TO BE REASONABLE,AND
  THIS GRANT IS EXPRESSLY SUユ『ECT TO TEE PERFORMANCE CF SUCH PROVIS10NS TO BE PERFORMED
  BY GRANTEE THEttUNDER.RESTRICi▲ ONS ON GRAN■ 回B'S USE CF THE PROPERTY ARE SET FORTH IN
  THiS DEED,THE MASttR DECLARA■ ON,THE SUPPLEMENTAL DECLARAT10N AND THE RECORDED
  SUBDIVISION MAP(S)FOR THE PROPERTY TO Ⅷ ICX THIS CONVEYANCE IS SPECIFICALLY AND
  EXPRESSLY MAl)E SUBJECT.



  MAIL TAX STATEMENTS TOf               Sandra ■. Brad■ ey
                                        9 Rae's Creet Lane
                                        Coto de Caza Ca 92679




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                                                         POLYGON GLENEAGLES LMITED PARTNERSIIP,
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                                                         CORPORA


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                                                                   Creg R. Petersen
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    STATE OF CALIFORNIA
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    COUNTY OF ORANOE
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 SURFACtt OF H電 ,ROpERTY 工N THE BttcIS口 oF SUCH RIGHTS, TOGttTHttR W工 H THE RIGHT AND
 POWER TO US電 OR UTIL=ZE ON ANY OTHER pROpBRTY OWNコ D OR LEASED BY OttNTOR ANY AND A111】
 VATER RIGHTS OR INTEttSrS IN WATER RIGHTS NO MATT口 R HOW ACo口 IRttD BY GRAMOnf AS
 烹ESERV豊つ IN THE D4電 D コROM COTO ptt cAZA LrD.′ RHCORDED NOVコ MBER 9, と,95 AS INSTRVMENT
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 AS DHDICATttD TO THE SANTA MARGARITA WATER DISTRICr OW THE Map oF sAID TRACT.
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 INSTRCMBNT NO. ■99602狼 ■0■ AND RE― RttCOttDED NOttMBER ■3, 199̀ AS INSTRUttM Ho,
 ■9960574009, ALL IN OFFIC工 AL RECORDS OF ORAHCE COUNTYf CAL工 FORNIA,



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     .       Electronically Filed by Superior Court of California, County of Orange, 0511212021 08:55:00 AM.
.   30-2917-00915711-PR-LA-CJC - ROA # 143 - DAVID H. YAMASAKI, Clerk of the Court By e Clerk, Deputy Clerk.



          RECORDING REQUESTED BY


          Jamie Lynn Gallian
          t6222 Monterey Ln. #376
          Huntington Beach, CA 92649

                                                                               THIS SPACE FOR RECORDERS USE ONLY



              AFFIDAVIT, DEATH OF GRANTOR OF INTERFAMILY TRANSFER GRANT DEED

                    JAMIE LYNN GALLIAN, BEING OF LEGAL AGE, BEING FIRST SWORN, DEPOSES AND SAYS:

          THATTHEDECEDENT,CHARLESJAMESBRADLEY,JR.DIEDON6-18.2000.            THATTHEDECEDENT,CHARLES


          JAMES BRADLEY, JR. IS THE SAME PERSON AS CHARLES J. BRADLEY, AND CHARLES J. BRADLEY, JR.,

          MENTIONED IN THE ATTACHED CERTIFIED COPY OF CERTIFICATE OF DEATH, MONTANA, STATE FILE NO. 8446.

                 THAT CHARLEQJAMES BRADLEYJR., TSTHE SAME PERSON AS CHARLESJ. BRADTEY lN THAT
          RECORDED GRANT DEEb.DATED tu2uL995 CHARLES J BRADTEYAND SANDRA L BRADIEY, HUSBAND AND
          wtFE AS COMMUNTW pROpERTy, EXECUTED By POLYGON GLENEAGLES LIMITED PARTNERSHIP, BY
          POLYGON COMMUNITIES, INC., ITS GENERAL PARTNERS R. LAWRENCE OLIN AND GREG R. PETERSON,
          RECORDED IN THE COUNW OF ORANGE, CALIFORNIA, OFFICIAL RECORDS OF THE CLERK RECORDER ON
          o2lo7lt997,AS    TNSTRUMENT NO.19970061523. ATTACHED HERETO, EXHIBIT "A" AND MADE A PART
          HEREIN.


          THAT CHARLES JAMES BRADLEY, JR. IS THE SAME PERSON AS CHARLES BRADLEY JR., GRANTOR, THAT
          CERTAIN UNRECORDED INTERFAMILY TRANSFER GRANT DEED DATED JUNE 9, 1999,
          EXECUTED BY CHARLES BRADLEYJR.(GRANTOR) HEREIN GRANTS TO JAMIE LYNN GALLIAN (CRANTEE), ONE.
          HALF OF THE COMMUNITY PROPERW INTEREST, IN THAT CERTAIN GRANT DEED, RECORDED O2IO7 /t997, AS
          INSTRUMENT NO. 19970061523. ATTACHED HERETO, EXHIBIT,,B" AND MADE A PARTTHERETO


          State of California, County of Orange


          on-beforeme,aNotaryPublicinandforthe5tateof
          California, personally appeared, JAMIE LYNN GALLIAN, personally known to me or proved to me on the
          basis of satisfactory evidence to the person whose name is subscribed to the within instrument and
          acknowledged to me that she executed the same in her authorized capacity, and that by her signature
          on the instrument the person or the entity upon behalf of which the person acted, executed the
          instrument.

          Witness my hand and official seal
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          Signature                                                    *   l:&les *hrr )5%oVq                      o
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          Notary Public in and for the State of California
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                                        ACKNOWLEDGMENT

     A notary public Or other omcer cOmpleting this
     ce止 ￨￢ cate veri石 es oniy the identity of the individuat
     who signed the documentto which this certi綱 cate is
     attached and n Ot the truthfuiness accuracy 0「
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   State of California
   County of             Or,〃 黒マ

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  paragraph is true and correcti



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FIRST AMERICAN lrkLE INS.                                                                    iS,00
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         POLYGCN GLENEACLES LIM「 ED PARttRSHP,A WASHINGTON LttrttD PARTNERSIIttp
hereby GRANTS lo: cHARLES J. BRADLEY AND S▲ NDRA L. BRABLEY, HUSBAND AND VIFE AS COMMUNITV
 PRCPERTY


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血e■ al   propeny h he city of(UNINCORPORATED AREA).Counv Of                  ORANGE,
State of Catifomia,described tt followsi


ω ESCRPT10N)          LOT 17 oF TRACT 15151.AS MORE PARTICULARLY DESCRIBED IN EXHlBF                         A確
                        AttACHED HBRETO AND INCORPORAttD HEREIN BY THiS REFERENCE.
SUBW TO:
1.TAXES′ ASSESSMBNTS̀NONDttNQUENTREALPROPERTYTAXES                       AND ALLNONDELINQUENTUNPAID
GENERAL AND SPECIAL ASSESSMENTSi

2.RECORD′ SURVEYMA    ERS,COVENANTS,CONDIT10NS,RESTRICyrloNS,EASEMENTS,RESERVAT10NS,
DEDICA顎 ONS,RIGHTS AND RIGHTS‐ OF‐WAY OF RECORD,INCLUDING WITHOUT LIM】 TAT10N,THE
MASTER DECLARAT10N,AND THE SUPPLEMENTAL DECLARAT10N.
3. GRANTtt ACKNOWLEDGMENT̀ GRANTEE,BY ACCEPTANCE AND RECORDATION OF THIS DBED,
EXPRESSLYACCEPTS,COVENANTS,ANDAGttESTO BEBOUND BY ANう ASSUME PERFORMANCEOF ALL
APPLICABLE PROVISIONS SET FORTH HEREIN AND IN THE MASTER DECと ARA■ ON AND THE
Su,PLEMEW「 AL DECLARATION,WHICH PROVIS10NS ARE ACKNOWLEDOBD TO DE REASONABLE;AND
THIS GRANT IS EXPRESSLY SUBJECT TO THE PERFORMANCE OF SUCH PROVISIONS TO BE PERFORMED
BY GRANTEE TIIEREUNDER.RESTR団 ONS ON GRAN E・ S USE OF THE PROPERTY ARE SET FORTH IN
THIS DEED,THE MASTER DECLARATION,THE SUPPLEMENTAL DECLARAT10N AND THE RECORDED
SUBDIVIS10N MAP(S)FOR THE PROPERTY TO Ⅷ ICH THIS CONVEYANCB IS SPECIFICALLY AND
EXPRESSLY MADE SUBJECT.



MAIL TAX STATEMENTS TO:               Sandra L. Brad■ ey
                                      9 Raets Creet Lane
                                      CotO de Caza Ca 92679




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                                                  POLYGON GLENEAGLES uMITED PARTNERSHIP,
 DATED                                            A WASHINGTON LIMITED PARTNERSHP
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COUNTF OF ORANGE
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 FROM THE PREttЬ W SURFAtt OF SArD LAHD, W工 THOUT ■出 R工 GHT OF SuRFACE EmRY AND WITHOUT
 THB RIGHT OF 層隠 Y W工 THIN SAID S00 FEETT AS RESERttD BY ERNEST A. BttYANT, 」R., AND
 JUDITH T工 LT BRYAW, HysBAゆ AND WIFE, ■W THヨ Dコ 電D RECORDED SEPTEMBER 24Ⅲ ■963 1N BOOK
 6729= PAGE 443 0F OFFICttAL RECORDS.
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 OR ON THE pRO,ERTY, W題 幽 R SUCH WATER ttGttTS ARB RIPARIANf OVコ RLY工 NC= AP,RO,題 Ar工 穏
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 WittR RIGHTS OR INTERESTS IN WATER RIGHTS NO MArrコ R HOW ACQUIRED BY GRANTORP AS
 RESERVHD ttN Щ E DEttD FROM COTO Dtt CAZA LFD., RECORDED NOWttMBttR ,, ■995 AS INSTRttNT
 NO. ■99SOS00■ 38 0F OFFICIAL RBCORDS.
 ALSO EXCBPTING THEttFROM ALL TAttR ANp FAT口 RR工 GHTS, IF ANY, INCと UDED W工 TH工 N SAID TRACT
 AS DED■ CATttD TO THg SユMA MttG麒 工TA VATER DISttICT ON THtt MAP OF SAID TRACT.
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                                                                           LOTS 9‑20 TRACT   ■SiSi

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     DESCRIBED AS FOLLO臀 S:
     PARCコ L   ■t

     LOT ■? OF      ttACT NO, ■S■ 6■ , AS SHO輻 ON.A HttP RECORDED 郎 日00( 732, PAGES 45 T0 49
     INC=〕 USIVE′    OF MiscELぬ MOuS MAPS, RECORDS OF ORANGE COUNTY, CALIFORNIA.
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     FROM THE PRESENT SttFACE OF SAID盟 聰 t W工 THOUT■ ― R工 GHT OF― FACE EmRY AND WITHOUT
     ■星将 RIGHT OF       Y W工 THIN SA工 D 500 FEET, AS RESERWれ コ BY ERNEST A. BRYAM´ 」R.̀ AND
     JUDItt T工 LT BR4W,
                    ―    IIげ SBAtt AND WIFE′ IN・ょュ島 DEED RECORDED SEPTEMBER 24′ ■
     6729, PAGE 443 0F OFFIC工 AL RECORDS.                                           'S3 1N BOOK
     ALSO EXCEPT工 NC ALL曹 えTER RIGttrS OR エ    ESTS IN WÅ 町 R RICHrS THAT MAY B4 WITHIN. UNDER
     OR ON T藍コ コROPERttJ ttHE― R SuCH WATERー RIGHTS ARE Rエ コARIAN′
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     PERCOmT二 郎G, PRBSCRIPTIVE OR CONTRACttAL, コROV工 DED′ HOWEマ ERv ― T THE RESERVATION MADE
     HEREIN SHALL NOT ttESERtt TO OR FOR  ―   BENEFIT OF GRANToR ANY ttICHT TO ENTER UつON THE
     SURFACE OF THE PROPコRH IN THE EXERCISE   OF SttCH RICHTS, TOGETHER W工 TH THE RIGttT AND
     POWコ R TO USE OR UT工 L工 ZE OW AM O既 田R PROPERTY OmED OR LEASED BY GRANTOR AW AND ALL
     WATER R工 GHTS oR 工NTERESTS IN WATER R=GHTS lVO MATTER HOW ACQUttRED BY GRANrOR, AS
     RESERVED IN THE DEED FROM COTO DE CaZA LTD̲, RECORDED NO電 醒 ER ,′ ■995ハS INSTRい tENT
     NO. ■9950500■ 38 0F OFFIC工 AL RECORDS,
     ALSO EXCコ PTINC褒 田 REFROM ALL VATHた とAND WATER RIGHTS▼ IF ANY, 工NCLUDED W工 暉 IN SAID TRACT
     AS DEDICATED TO THL SANTA MARGARITA ■ATER DISTRICT ON THE MAP OF SA工 D TRACT.
     RBSttVINC■ REFROM, FOR即 翔 ENEFIT OF GRANTOR AND O瞬 範 RS▼ NON― EXCLVSIVE ttSEMENTS FOR
     ACCESS, INGRESS, EGRESSr ttCROAい 匡 NT, MAINTEttANCE, REPA工 R, DRAINAGE AND SUPPORT, AS
     DESCRIBED工N THE ttCORDED SUBD=VISION MAP FOR― CTユ 5■ 6■ AND IN THE MASTER DECLARATION
     AND THE SUPPLE卜霊 NTAL DECみ ARATIoN DEFINED BEる OW,

     'ARCEL 21
     NON― EXCLUS工 VE EASEMENTS FOR ACCESSf 工NGRESSJ BGRBSS, MAIWttANCE= REPA工 Rぢ DRAINAGE′
     虻  ROACHMEN■ AND SUPPORT, ALL AS DESCRIBED IN ME MASTER DECmttTIoN OF CO―                ANTS,
     CONDITIONSr RESTRICT工 ONS ANつ RESERVATION OF EASEMENTS FOR COTO DE CAZA (■              MASTER
     DECぬ RATION==), RECORDED WttCH 5f ■                  ト霊 NT NO. 84,0,2424, AND THE NOTICE OF
     ADDITION OF TERRITORY AND SUPPLEMttNTAL       DECLARATttON OF COVENANTS′ CONDIT工 ONS,
                                           '84 AS INSTRロ
     RES■ xICTIONS AND RESERVATION OF EASE卜 田 NTS FOR COTO DE CAZA (    SUPPLEMENPAL DECLARATION",
     RECORDED MAY 7′ ユ                     T NO. ■99S022'■ 47 ANI)RE‐ RECORDED MAY ■4′ ユ9,S AS
     INSTRUMENT NO.      '96 AS INSTR―
                        ■9,60242■ 0■ AND RE― RECORDED NOVEMBBR       ■3, ■99S AS INSTRU卜ENT NO.
     ■9960574009, aLL IN CFFICIAL RECORDS OF ORANGE COUNTYr CALIFORNIA.




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                     PARTγ WITHOげ TATrORNビ 淮       STATE 8AR NO:
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             JAMIE LYNN GALttAN
           NAME:

              ^DDRESS:16222 MONTEREY LANE#376
            HUNTINGTN BEACH                                               S'ATE:CA       ZIP∞ DE 92649
                   NO:714‐ 321‐ 3449                                      FAX NO.:
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          AND ZIP CODE: SANTA ANA,CA 92701
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                                                                                                                CASE NUMBER
     PLA'NTIFF/PET,TIONER:」                                                                                     30‐ 2017‐ 00915711
                        AMIE LYNN GALLIAN
    DEFENDANT/RESPONDENT:       IN THE ESTATE OF CHARLES BRADLEY                                                JUDICIAL OFRCER:



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              SANDRA L.BRADLEY,ADMINISTRATOR
          b. Electronic seⅣ ice address of person seⅣ ed r
              GlANNA@ROSSLLP.COM
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: DECLARATION OF GREG BUYSMAN RE:
MOTION OBJECTING TO DEBTOR’S CLAIMED HOMESTEAD EXEMPTION will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 7,
2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On ______, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on July 7, 2022, I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

PURSUANT TO THE COURTROOM POLICIES AND PROCEDURES OF THE HONORABLE ERITHE A. SMITH,
COURTROOM 5A, §VIII. JUDGES’ OR COURTESY COPIES, EXCEPT FOR DOCUMENTS 200 PAGES OR OVER,
INCLUDING EXHIBITS, JUDGE SMITH DOES NOT REQUIRE JUDGES’ COPIES.

DEBTOR – VIA OVERNIGHT DELIVERY
JAMIE LYNN GALLIAN
16222 MONTEREY LN UNIT 376
HUNTINGTON BEACH, CA 92649


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 7, 2022                   Layla Buchanan                                                   /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Aaron E DE Leest adeleest@DanningGill.com,
        danninggill@gmail.com; adeleest@ecf.inforuptcy.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
        ASSOCIATION: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com; goeforecf@gmail.com
     TRUSTEE JEFFREY I GOLDEN (TR): Jeffrey I Golden (TR lwerner@wgllp.com, jig@trustesolutions.net;
        kadele@wgllp.com
     ATTORNEY FOR PLAINTIFF HOUSER BROS. CO.: D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
        cmendoza@ecf.courtdrive.com
     ATTORNEY FOR CREDITOR and PLAINTIFF THE HUNTINGTON BEACH GABLES HOMEOWNERS
        ASSOCIATION: Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Eric P Israel eisrael@DanningGill.com,
        danninggill@gmail.com; eisrael@ecf.inforuptcy.com
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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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